
CARL E. STEWART, Circuit Judge,
concurring in part and dissenting in part:
I concur in the panel majority’s decision affirming: (1) the Jones Act verdict in favor of Brown; (2) the denial of Parker Drilling’s motion for new trial claiming that the trial judge improperly charged the jury in its attempt to remedy the inconsistent verdict; and (3) the denial of Parker Drilling’s motion for new trial claiming that it was prejudiced by Brown’s counsel’s invocation of the Golden Rule. Regarding the majority’s reversal of Brown’s maintenance and cure verdict, I continue to dissent.
The initial majority opinion appearing at 396 F.3d 619 (5th Cir.2005), completely substituted its credibility determinations for those of the jury in this case in an effort to rescue the shipowner from what the majority considered to be a legally deficient jury verdict. On rehearing, the majority strains to characterize this case as one which principally turns on the resolution of an objective issue of law and not on credibility, a traditional jury province, as the. trial judge saw it and as I saw it after reading the trial record.
A close examination of the cases the majority - cites in its opinion on rehearing shows that the cases are an assortment of appeals of summary judgment rulings, bench trial rulings and; for the most part, cases where the facts involved were significantly more egregious than the facts and circumstances presented to the jury in this case. For the reasons that I shall reiterate, Brown v. Parker Drilling was a hard fought, quintessential jury trial, presided over by a. highly attentive trial judge. This case was not difficult for this citizen jury to understand. It was not a multiple party case requiring sophisticated organizational charts to explain for the jury the relative interests of the parties in the case, it required no complex federal statutory interpretation to guide its decision making, it involved no compound contractual entanglements between the .parties requiring the jury to decipher reams of paper presented to it by each party, it involved no overlapping principal claims and cross *182claims tethered to a labyrinth of legal principles and theories. Neither the trial judge’s denial of Parker Drilling’s Motion for Judgment as a Matter of Law, nor the jury’s verdict on the maintenance and cure issue should be reversed by the hindsight of this appellate court.
Following a three-day jury trial in this hotly contested maintenance and cure lawsuit, the jury deliberated for five hours over all the competing claims of the parties and then returned a verdict in favor' of Brown in the amount of $150,000. Having remitted the verdict to $100,000, the trial court fully discussed the facts and law pertaining to Parker Drilling’s post-trial motions and then denied them. Despite this context, the panel majority sifts through the evidence, essentially declares Brown to be unworthy of belief by the jury, and then substitutes its appellate judgment for that of the jury. The majority discards the plaintiffs verdict and summarily renders a substitute verdict for Parker Drilling, the employer. Because I decline to participate in the ■ majority’s usurpation of the jury’s function, I respectfully dissent.
The majority anchors its analysis' on McCorpen v. Central Gulf Steamship Corp., 396 F.2d 547 (5th Cir.1968). I have no quarrel with Parker Drilling’s right to assert a wilful concealment defense in this case. ' However, McCorpen also provided that, “[i]f the shipowner is unable to persuade the court or jury that the seaman could reasonably be expected to have considered his medical history a matter of importance, he will be liable for maintenance.” 396 F.2d. at 549; see also Springborn v. Am. Commercial Barge Lines, Inc., 767 F.2d 89, 94-95 (5th Cir.1985); Guevara v. Maritime Overseas Corp., 34 F.3d 1279, 1281 (5th Cir.1994) (stating that “the standard of review in a Jones Act case is highly deferential”). Brown testified, and his trial counsel presented evidence, that Brown did not consider his prior injuries to be “back problems” within the meaning of Parker Drilling’s employment application, but instead considered his prior injuries mere muscle pulls. Thus, the question whether Brown “fraudulently” concealed prior “back problems,” within the meaning of Parker Drilling’s employment application was, in this instance, one of credibility. Questions of credibility should properly be left to the fact-finder. See e.g., Polanco v. City of Austin, Tex., 78 F.3d 968, 976-77 (5th Cir.1996).
On appeal, Parker Drilling contests the district court’s rulings on its post-judgment motion for judgment as a matter of law, or in the alternative, motion for new trial, or for remittitur. The panel majority’s reversal of the jury’s verdict here is tantamount to a judgment as matter of law, pursuant to Rule 50(a) of the Federal Rules of Civil Procedure. “A motion for judgment as a matter of law ... in an action tried by jury is [, in essence,] a challenge to the legal sufficiency of the evidence supporting the jury’s verdict.” Hiltgen v. Sumrall, 47 F.3d 695, 699 (5th Cir.1995). Review under Rule 50(a) of a trial court’s denial of a motion for judgment as a matter of law is de novo. This court must apply the same standard the district court used when it first considered the motion, on the first pass. Hiltgen, 47 F.3d at 699. Thus, we will uphold a jury verdict unless “there is no legally sufficient evidentiary basis for a reasonable jury to find” as it did. Fed.R.CivP. 50(a). “Ambiguities and doubts are to be resolved in favor of the seaman.” Springborn, 767 F.2d at 94. To show deference to a jury’s decision, this court has consistently stated that,
[a] jury may draw reasonable inferences from the evidence, and those inferences *183may constitute sufficient proof to sup,port a verdict.
On appeal, we are bound to view the evidence and all reasonable inferences in the light most favorable to the jury’s determination. Even though we might have reached a different conclusion if we had been the trier of fact, we are not free to reweigh the evidence or to reevaluate credibility of witnesses. We must not substitute for the jury’s reasonable factual inferences other inferences that we may regard as more reasonable.
Rideau v. Parkem Indus. Services, Inc., 917 F.2d 892, 897 (5th Cir.1990) (citations and quotations omitted) (emphasis supplied).1
Despite the fact that a seaman’s right to maintenance and cure is “very broad” and “rarely withheld,” see, e.g., Wactor v. Spartan Trans. Corp., 27 F.3d 347, 352 (8th Cir.1994), that right is not without its limitations. McCorpen, 396 F.2d at 549. The majority correctly points out that in order to deny Brown’s maintenance and cure claim, Parker Drilling is entitled to rely on the McCorpen defense that Brown “willfully concealed” a preexisting medical condition. Id. (noting that, “where the shipowner requires a seaman to submit to a prehiring medical examination or interview [, as in The instant case,] and the seaman intentionally misrepresents or conceals material medical facts, the disclosure of which is plainly desired, then he is not entitled to an award of maintenance and cure”). As the majority notes, in order to prove that Brown “willfully concealed” a preexisting medical condition, Parker Drilling must establish that, (1) Brown intentionally misrepresented or concealed medical facts; (2) the non-disclosed facts were material to the employer’s decision to hire the- claimant; and (3) a connection exists between the withheld information and the injury complained of in the lawsuit. Id. at 548-49. My review of the record reveals that substantial evidence was presented at the trial for the jury to consider elements one and three of the McCorpen defense. As the shipowner, Parker Drilling had the burden of persuading “the court or the jury” that the complaining seaman was not, entitled to an award of maintenance and cure. Id. The jury and the district court in the instant *184case were, both, unpersuaded by Parker Drilling’s contention that Brown attempted to “intentionally” defraud it.
At trial, Brown brought five claims against Parker Drilling: (1) negligence under the Jones Act, (2) unseaworthiness under general maritime law, (3) retaliatory discharge, (4) maintenance and cure, and (5) unreasonable failure to pay maintenance and cure. After five hours of deliberation, the jury returned a verdict in favor of Brown on three of the five claims: negligence under the Jones Act, maintenance and cure, and unreasonable failure to pay maintenance and cure. The jury found in favor of Parker Drilling on the two remaining claims of unseaworthiness and retaliatory discharge. On the claim for negligence under the Jones Act, the jury apportioned fault, finding Brown 75% at fault and Parker Drilling 25% at fault. Judgment was entered in favor of Brown on May 28, 2008. Parker Drilling filed a Motion for Judgment as a Matter of Law, or in the Alternative, a Motion for a New Trial, or a Motion for a Remittitur. The district court considered the matter under the appropriate standard articulated under Rule 50(a). The district court first considered the evidence under the standard for a motion for judgment as a matter of law. Thus, the trial judge evaluated the facts to determine whether, after drawing all reasonable inferences in favor of Brown, there was a legally sufficient basis for a reasonable jury to find in favor of Brown. The district court then considered Parker Drilling’s Motion for a New Trial. After weighing all the evidence anew, the district court concluded that the jury’s verdict was not against the great weight of the evidence. The district court cogently articulated in its order and reasons its explanation for denying the motion for judgment as a matter of law and the motion for a new trial. These reasons are based on detailed and careful analysis of the trial and supported by substantial facts in the record. The court observed:
Contrary to the defendant’s characterization of the plaintiffs testimony, whether or not the plaintiff intended [sic] tó misrepresent or conceal material medical facts was a hotly disputed question of fact at trial. The plaintiff stated that because of the minor nature of the muscle pulls he had experienced in the past, he did not consider any prior back strains or muscle pulls to be “back injuries” when confronted with the question on the Parker employment application. He denied “intentionally concealing” any material medical information. It is apparent that the jury gave credence to his explanation and it rejected Parker’s McCorpen defense.
Viewing the evidence in the light most favorable to the non-moving party, the Court also finds that the plaintiff did offer substantial evidence supporting his Jones Act and maintenance and cure claims. Brown was, in fact, employed as a Jones Act seaman on the day of the accident on Parker’s drilling vessel. Plaintiff testified that he was engaged in pulling slips on the rig floor when the slips stuck in the master bushing, causing them to rise from the drill floor and then suddenly drop, abruptly jerking the plaintiff and causing injury to his back. He reported the accident in a timely manner and he was placed on light duty.
Other evidence was presented which corroborates plaintiffs claim. There was testimony that the master bushing should have been gréased to prevent it from sticking, that plaintiff had never actually been instructed to grease the master bushing, that under normal circumstances the master bushing should not rise from the drill floor, that Brown was an excellent employee during the six months prior to the accident that he *185worked for Parker, and that Brown had never exhibited back pain or a back injury prior to the accident. Plaintiffs drilling procedures expert, Mr. Kubelka, testified that the plaintiff was not properly trained and that the equipment in use on the Parker rig was not functioning properly. In addition, there was uncontradicted medical evidence that plaintiff does have a herniated disc in his lumbar region.
Parker’s entire argument in favor of its motion for judgment as a matter of law is based upon its interpretation of the evidence in the light most favorable to its case, relying almost exclusively on its own credibility determinations. As noted above, however, in deciding a motion for judgment as a matter of law, the district court must draw all reasonable inferences in favor of the nonmoving party, and it may not make credibility determinations or weigh the evidence .... “[I]t is the function of the jury as the traditional finder of facts, not the Court, to weigh conflicting evidence and inferences, and determine the credibility of witnesses.” Delano-Pyle v. Victoria County, Texas, 302 F.3d 567, 572 (5th Cir.2002), quoting MacArthur v. Univ. of Tex. Health Ctr. at Tyler, 45 F.3d 890, 896 (5th Cir.1995) (citation omitted). As noted, the district court’s task is to determine if the facts and inferences point so strongly and overwhelmingly in favor of the moving party that reasonable men could not arrive at a contrary verdict, disregarding evidence favorable to the moving party that the jury is not required to believe. Id. (sic) Applying this stringent standard, the Court finds that the defendant’s motion for judgment as a matter of law is without merit.
With respect to the defendant’s motion for a new trial on the Jones Act negligence and entitlement to maintenance and cure claims, for reasons previously. stated, the motion is without merit.
This' recitation by the trial judge alone is sufficient to demonstrate there was a lawful evidentiary basis for the district court to reasonably uphold the jury’s verdict. Accordingly, our court is required to remain “mindful that, in light of the seventh amendment guarantee of the right to jury trial, ..! [this court has a duty to] proceed cautiously, and ... [should] validate the jury verdict if at alb possible.” Gaspard, 649 F.2d at 374 n. 2. This record indicates that it is clearly possible to validate this verdict.
Notwithstanding the district court’s conclusion, my review of the record, taken in the light most favorable to Brown, also finds substantial evidence to permit a reasonable jury to reject Parker. Drilling’s McCorpen defense. From the inception of opening statements to the final words of closing arguments, the salient facts of this case were fiercely debated. In opening statements, Brown’s trial counsel delineated a succinct time line of Brown’s first two injuries, leading up to the injury Brown alleges he sustained in the course of his employ at Parker Drilling: In 1998, Brown was treated in an emergency room in Vicksburg, Mississippi for what he claims was a pulled muscle resulting from the lifting of an ice chest filled with one hundred pounds of corn. At the time of the first injury, Brown was seventeen years old and still in high school. Brown’s x-rays were inconclusive as to whether he had a herniated disc. Still reeling from the pain, Brown visited his family physician, Dr. Johnston, five days later. In May of 1999, Brown graduated from high school. Brown testified that between the time of the first injury and the time of the second injury, he suffered no pain with his back. In August of 1999, Brown took a *186job with LeTourneau, Inc., a company at a shipyard that builds offshore drilling rigs. At LeTourneau, Brown was employed as a welder. Similar to what Brown would later encounter in Parker Drilling’s employment application, LeTourneau’s employment application contained a questionnaire inquiring whether Brown suffered, at that time, or in his past, “back problems.” Brown did not inform LeTourneau of the incident with the corn, but testified that he failed to do so, only because he did not believe his prior injury constituted “back problems,” within the meaning of LeTourneau’s application. The evidence reveals that Brown continued to work for LeTourneau from August of 1999 until June of 2000, and that between that time, Brown suffered no pain with his back. In June of 2000, however, while lifting a heavy pipe during his employ with LeTourneau, Brown suffered a second injury to his back. Brown again visited Dr. Johnston, and Johnston again concluded that Brown had merely pulled a muscle. Brown was subsequently fired for not informing LeTourneau of the prior back injury. Evidence was presented by Parker Drilling’s trial counsel that LeTourneau stated that it terminated Brown because Brown had fabricated the injury and was never actually injured. Parker Drilling even introduced a letter ' written by Bob Fant, Brown’s LeTourneau supervisor, and signed by Brown, attesting to Brown’s fabrication of the injury. Brown in rebuttal, however, testified that he signed the statement submitting that he had made up the story, but only did so because he believed it would salvage his job, at that time. Brown suggested that Fant instructed him to sign the letter to keep his job, after Fant learned of Brown’s prior injury from Brown’s sister. However, when asked by his trial counsel whether he had in fact suffered the second injury, Brown testified that “yes” he had suffered the second injury. When asked how he sustained the second injury, Brown stated that the injury was caused by lifting a piece of heavy pipe during his employ with LeTourneau. Moreover, Parker Drilling’s trial counsel asked Brown, during a vigorous cross-examination, whether by not listing his 1998 injury Brown was trying to intentionally deceive LeTourneau. Brown expressly testified that he was not trying to deceive LeTourneau. Brown testified, instead, that he did not list the 1998 injury because he did not consider his prior muscle pull to be deemed “back problems,” within the meaning of LeTourneau’s employment application.
On August 17, 2000, Brown commenced his employment with Parker Drilling. The evidence reveals that prior to accepting Parker Drilling’s offer of employment, Brown was required to fill out an application containing a questionnaire of various inquires. One question, almost identical to LeTourneau’s application, inquired whether Brown had suffered or was suffering from “back problems.” Again, Brown did not list either the 1998 injury, or the injury he alleges he suffered at LeTourneau. Parker Drilling’s trial counsel peppered Brown on cross-examination; Brown never waivered from his story that he did not consider either of his prior injuries to be “back problems,” within the meaning of the employment applications. This evidence is only some of the record facts supporting a conclusion that the jury’s verdict was supported by a sufficient evidentiary basis.
As to the first requirement of the McCorpen defense, i.e., whether Brown intentionally misrepresented or concealed medical facts, Brown and Parker Drilling, using the same time line, both depicted contrasting stories of the events leading up to the injury Brown alleges he sustained in the course of his employ with Parker Drill*187ing. The jury accepted Brown’s version of events, and rejected Parker Drilling’s. This record clearly demonstrates sufficient evidence, taken in the light most favorable to Brown, to reasonably support the jury’s verdict as to this requirement. Brown’s trial counsel presented his client as a young and unsophisticated kid who did not fully understand the meaning of his employers’ employment applications. Even though Parker Drilling’s trial counsel showed inconsistencies in Brown’s stories, and specifically depicted Brown as a liar who showed a pattern of fraud and deception by failing to list prior injuries in both LeTourneau’s and Parker Drilling’s application, Brown offered reasonable explanations for each inconsistency highlighted by Parker Drilling. Parker Drilling’s trial counsel even had the benefit of vigorously cross-examining Brown, and yet, the jury still refused to accept Parker Drilling’s McCorpen defense.-
Indeed, at oral argument before this court, Parker Drilling’s appellate counsel acknowledged that their trial counsel skillfully used demonstrative evidence to highlight for the jury the salient points of Brown’s testimony. Enlarged copies on “blow ups” were used to illuminate Brown’s inconsistent statements and show that Brown was a liar. The jury flatly rejected Parker Drilling’s version of the events. On the other hand, the jury was aware of Brown’s age, and heard evidence suggesting that Brown had a low level of sophistication. Brown also underwent a rigorous medical physical by Parker Drilling’s physician before he was allowed to work. Brown passed the physical examination according to Parker Drilling’s standards, and the results of the exam indicated that, at the time Brown commenced employment with Parker Drilling, Brown was in good physical health. It was also possible for the jury to reasonably conclude that Brown did not consider his prior injuries to be “back problems” within the meaning of his employers’ applications, thereby negating the notion that Brown intentionally concealed his prior injuries. Contrary to the majority’s declaration, the jury in this instance could have reasonably accepted Brown’s explanations for not listing his prior injuries on Parker Drilling’s employment application, primarily because he did not consider his prior back injuries to be “back problems.”
Even were I to accept the majority’s contention that the intentional concealment prong of McCorpen is an objective determination, I am still convinced that a reasonable jury could have determined that there was no causal link between Brown’s prior back injury/sprain and the impairment for which he sought compensation. Thus, even though the panel majority attempts to establish that the intentional concealment prong was objectively met, the other two required elements were obviously rejected by the jury. Therefore, the majority’s reliance on its premise that one of the elements requires an objective determination still falls short of justification for its reversal of the jury verdict.
The third McCorpen requirement, i.e., whether a connection existed between the withheld information and the injury complained of in the lawsuit, could also be fairly considered by the jury. The jury heard experts from both sides vigorously debate the cause of Brown’s injury. Evidence was presented that x-rays of Brown’s first injury were inconclusive to indicate that Brown suffered a herniated disc. Dr. Johnston testified that when he treated Brown on the two prior occasions, he concluded that Brown had merely suffered a muscle pull. Evidence was also presented by Parker Drilling’s own expert neurosurgeons, Dr. Robert Mímeles and Dr. Robert Applebaum, which indicated that after the time Brown alleged he sufi *188fered the back injury during his employ with Parker Drilling, Brown in fact had a herniated disc. Moreover, there was no evidence presented to conclusively show that Brown sustained- the herniated disc, prior to the incident at Parker Drilling. The jury was entitled to reasonably infer that the herniated disc resulted from the injury Brown sustained while working for Parker Drilling. The McCorpen defense requires a causal link; the jury in this case concluded that Parker Drilling did not establish that a connection existed between Brown’s withheld information and the injury Brown alleges he, sustained while working for Parker Drilling.
The decisive factor in this case was one of credibility. Parker Drilling’s counsel more than sufficiently put the issue of Brown’s credibility before the jury. Again, the jury did not accept Parker Drilling’s characterization of Brown as a liar. “Credibility is a question [properly left] for the jury.” Boyle, 893 F.2d at 716. Indeed, the Supreme Court has perennially instructed appellate courts not to substitute its judgment for that of the jury. See e.g., Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986) (observing that “Credibility determinations, the weighing of evidence, and the drawing of legitimate inferences from the facts are jury functions, not those of a judge.... The evidence of the non-movant is to be believed, and all justifiable inferences are to be drawn in his favor ”); see also Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 151, 120 S.Ct. 2097, 147 L.Ed.2d 105 (2000) (stating that “although the [appellate] eourt[s] should review the record as a whole, it must disregard all evidence favorable to the moving party that the jury is not required to believe”); Lytle v. Household Mfg., Inc., 494 U.S. 545, 554-555, 110 S.Ct. 1331, 108 L.Ed.2d 504 (1990); Continental Ore Co. v. Union Carbide &amp; Corp., 370 U.S. 690, 696-97 n. 6, 82 S.Ct. 1404, 8 L.Ed.2d 111 (1962).
Even more telling of the reasonableness of this jury’s decision is the fact that the full evidence was weighed-a second time-by the district court who, having the advantage of sitting through the entire flow of the evidence, prior to, during, and after the trial, also rejected Parker Drilling’s characterization of Brown. “When the district court denies a new trial, it ratifies the jury’s assessment of the case .... ” Eximco, Inc. v. Trane Co., 737 F.2d 505, 512 (5th Cir.1984). Accordingly, “the party who initially persuaded the jury should not be stripped unfairly of a favorable decision.” Id. Notwithstanding the panel majority’s disclaimers to the contrary, I respectfully suggest that this is precisely what the panel majority is doing in this case. Verdicts based on a jury’s fact findings, which appellate courts may not agree with, are rendered across this nation almost everyday, and yet, the verdicts are sustained because appellate courts have a legal duty to uphold such verdicts when the record reveals legally sufficient evidence to so. This court itself has repeatedly observed that, “[o]nly through live cross-examination can the fact-finder observe the demeanor of a witness, and assess his credibility. A cold transcript ... is generally no substitute because it cannot unmask the veracity of a testifying witness clad in a costume of deception; it cannot unveil that a seemingly well-groomed witness is coming apart at the seams: ‘that he fidgets when answering critical questions, his eyes shift from the floor to the ceiling, and he manifest all other indicia traditionally attributed to perjurers.’ ” Int’l Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257, 1265-66 (5th Cir.1991) (quoting Anderson, 477 U.S. at 269-70, 106 S.Ct. 2505) (emphasis in the original).
*189In sum, this case will never be particularly noteworthy for the maritime law principles involved. On the other hand, this case significantly portrays the cardinal principles of our American jury system. However reticent an appellate panel may be about the jury’s verdict in a case, it should not, in the guise of correcting errors of law, usurp the constitutionally endowed jury function with a retrofitted verdict of its own. Here the majority does just that. For the foregoing reasons, I respectfully dissent from the majority’s reversal of the maintenance and cure jury verdict in favor of Brown and its rendering a judgment as a matter of law in favor of Parker Drilling.

. Although the panel majority does not elaborate on the historic nature of maintenance and cure, especially as it relates to the doctrine being favorable to seamen, there is no difference in its understanding of maintenance and cure and mine. “Maintenance” and "cure” is a contractual form of compensation provided under general maritime law to seaman who become ill or injured while in the service of their ship. McCorpen, 396 F.2d at 548. See also M. Norris, 2 The Law of Seaman § 26: 2, at 3 (4th ed.1985); accord Brister v. AWI, Inc., 946 F.2d 350, 360 (5th Cir.1991). An employer's duty to pay maintenance and cure is not dependent on the employer’s or the seaman's negligence; but rather, maintenance and cure is a seaman's right implied in the relationship between the seaman and the owner of the vessel. Brister, 946 F.2d at 360; see also Bertram v. Freeport McMoran, 35 F.3d 1008, 1012 (5th Cir.1994). "Thus, an owner of a vessel is almost automatically liable for the cost of medical treatment and basic living expenses when a seaman in its employ is injured.” Brister, 946 F.2d at 360; see, also Charpentier v. Blue Streak Offshore, Inc., 1997 WL 426093, at *8 (E.D.La.) (stating that "[m]aintenance and cure are available even where a seaman has a longstanding illness which does not manifest itself until some point during his employment on a vessel, even if that employment is not responsible for causing the illness to appear or worsen”) (footnotes omitted). Indeed, the ' Supreme Court has stated that "when there are ambiguities or doubts [as to a seaman's right to maintenance and cure], they are to be resolved in favor of the seaman.” Vaughan v. Atkinson, 369 U.S. 527, 532, 82 S.Ct. 997, 8 L.Ed.2d 88 (1962); accord Gaspard v. Taylor Diving &amp; Salvage Co., Inc., 649 F.2d 372, 374 n. 2 (5th Cir. Jul.1981).

